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UNITED STATES DISTRICT COURT
MIDDLE DISTRlCT OF FLORIDA 2010 HOY 21; PH 2: |`[
JACKSONVILLE DIVISION

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COURTNEY SOBCZAK, an individual,
Case No. “ __ 3 %»\-

Plaintiff, 3: )O_CV_ logg-‘§'_.(]qfnm

V.

MEDICREDIT, INC., a Missouri
corporation,

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)
)
)
)
) JURY TRIAL DEMANDED
)
)
)
Defendant. )
COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Plaintiff, Courtney Sobczak, sues Defendant, Medicredit, Inc., and alleges:
lntroduction

l. This is an action for actual and statutory damages, and for injunctive relief, for
violations of the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. 1692 et seq., and the
Florida Consumer Collection Practices Act, Fla. Stat. § 559.72 (FCCPA). Plaintiff additionally
seeks an award of punitive damages under the FCCPA, as well as, costs and attomey’s fees
under the FDCPA and the FCCPA.

Jurisdiction and Venue

2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § l33l, and

28 U.S.C. § 1337.

3. Venue is proper in this district under 28 U.S.C. § l39|(b) as the Defendant

transacts business here and the conduct complained of occurred here.

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Per_i§

4. At all times relevant to this Complaint, Plaintit`f Courtney Sobczak was a "natural
person obligated or allegedly obligated to pay any debt” who was residing in the County of St.
Johns and State of Florida.

5. Defendant MediCredit, Inc. is a foreign business corporation organized and
existing under the laws of the State of Missouri that is authorized to do business, and does
business, in Florida and in this judicial district.

6. Defendant MediCredit, Inc. is a “debt collector” within the meaning of 15 U.S.C.
§ 1692a(6) in that, among other things, it held itself out to be a company collecting a consumer
debt allegedly owed by the Plaintiff.

7. The acts of the Defendant alleged infra were performed by its employees acting
within the scope of their actual or apparent authority.

8. All references to Defendant herein shall mean the Defendant or an employee of
the Defendant.

Common Factual Allegations

9. On or about December 28, 2009, Signet Diagnostics lmaging Services (North
Florida), LLC (hereinafter “Signet”) sent Ms. Sobczak an invoice for $323.00 (hereinafier the
“Alleged Debt").

10. On or about January 6, 2010, Ms. Sobczak called her health insurance provider,
UnitedHealthcare (United), to inquire about the Alleged Debt. Plaintiff spoke with a United
Claims Specialist in United’s Rapid Reso|ution Department. During this conversation, the
United representative told Plaintif`i` that she did not owe the Alleged Debt because Signet had

billed her for an unauthorized service.

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ll. During Plaintiff’s January 6, 2010 telephone conversation with United, United
placed Ms. Sobczak on hold and called Signet at (904)425-5412. Signet did not answer the
phone, and United left Signet a voicemail which instructed Signet to cease billing Plaintiff for
this unauthorized service. Additionally, on or about January 8, 2010, United mailed Signet a
“Balance Billing Letter,” a copy of which is attached to this Complaint as Exhibit A, telling
Signet to stop billing Plaintiff for the Alleged Debt.

12. On or about March 22, 2010 at 12:40 p.m., two months alter Plaintiff's telephone
conversation with United, Defendant MediCredit, lnc. called Plaintiff and left a voicemail. In
this voicemail, Defendant failed to identify itself as a debt collector and stated that Plaintiff
should call Defendant in regards to “personal business.” Plaintiff did not respond to this voice
message because she believed it to be an erroneous call to her cell phone.

13. On or about March 25, 2010, Defendant left a second voicemail on Plaintift`s cell
phone. Defendant stated that it was calling to collect the Alleged Debt. Plaintiff was upset,
confused, scared, nervous, and inconvenienced by Defendant’s attempts to collect the Alleged
Debt.

14. During Plaintiff`s March 25, 2010 telephone conversation with Defendant,
Plaintiff told Defendant about the Balance Billing Letter United sent to Signet and the contents
thereof, specifically, that PlaintiH` does not owe the Alleged Debt and that Signet should cease
efforts to collect the Alleged Debt from Plaintiff. After Ms. Sobczak told Defendant about the
Balance Billing Letter, Defendant asked Ms. Sobczak to provide Defendant with documentation
supporting her claim that she did not owe the Alleged Debt. Ms. Sobczak told Defendant she

would fax a copy of the Balance Billing letter to Defendant,

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15. Following Plaintift`s March 25, 2010 telephone conversation with Defendant,
Plaintiff was confused, anxious and nervous. She felt sick to her stomach because she was being
subjected to debt collection efforts by Defendant for a debt she did not owe and was told not to
pay. Plaintiff lost sleep worrying about damage to her credit,

16. On or about March 26, 2010, Plaintiff, angered and confused about Defendant’s
collection efforts, had the Balance Billing Letter faxed to Defendant.

l7. On or about March 29, 2010, at 8:15 p.m., while Plaintiff was vacationing with
her family, Defendant called Plaintiff and lett a voicemail demanding she return Defendant’s
call. Plaintiff was upset because she was trying to settle her children down for bedtime, and all
she could think about was the damage to her credit, the Defendant’s continued phone calls, and
her inability to make them stop. That night, she was unable to sleep because she was nervous,
anxious and sick to her stomach.

18. The next moming, on or about March 30, 2010 at 9:12 a.m., Ms. Sobczak called
Defendant and asked if Defendant’s records showed it received the Balance Billing letter
Plaintiff faxed to Defendant on or about March 26, 2010. Defendant said that its notes showed
that a fax was received, but did not show what had been received and did not include a copy of
the facsimile. Ms. Sobczak reiterated that United had told Signet to stop attempting to collect the
Alleged Debt, that the Balance Billing Letter which Plaintiff had faxed to Defendant showed
Plaintiff did not owe the Alleged Debt to Signet, and requested that Defendant cease collection
efforts Defendant told Ms. Sobczak that it would continue its efforts to collect the Alleged
Debt. Ms. Sobczak was exasperated, hurt and confused; she did not know what she could do to

stop these illegal and unauthorized collection efforts.

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19. On or about March 30, 2010 at 9:30 a.m., Plaintiff called United and told United
that Defendant was continuing its collection efforts of the Alleged Debt.

20. On or about April 2, 2010, Ms. Sobczak learned that United sent another copy of
the Balance Billing Letter to Signet; as before, the letter demands Signet cease billing Plaintiff
for the Alleged Debt.

21. On or about April 5, 2010, Ms. Sobczak called the Federal Trade Commission
(FTC) seeking guidance and closure as she was desperate for resolution. Plaintiff told the FTC
representative all of the facts as alleged supra, specifically: (i) Plaintiff was billed $323.00 by
Signet; (ii) Plaintiff contacted United in January to inquire about the bill; (iii) United told
Plaintiff not to pay the Alleged Debt; (iv) United sent Signet a Balance Billing Letter demanding
it cease collection efforts on the unauthorized charge; and (v) Defendant is now calling to collect
the Alleged Debt despite Plaintiff explaining to Defendant that she does not owe the Alleged
Debt and faxing the Balance Billing Letter to Defendant.

22. On or about April 5, 2010, at 3:29 p.m., alter Ms. Sobczak’s telephone
conversation with a representative of the FTC, she called Signet. She painstakingly reiterated all
of the facts to the Signet representative, specifically, that United sent a Balance Billing Letter
United to Signet in January demanding Signet cease collection efforts, that Plaintiff was
nonetheless being subjected to collections efforts by Defendant, that Defendant continued to
pursue collection of the Alleged Debt notwithstanding her providing information confirming she
did not owe the Alleged Debt.

23. On or about April 5, 2010 at 4:15 p.m., Signet called Ms. Sobczak. Signet
represented to Plaintiff that it was resubmilting the claim to United and, in the meantime, would

instruct that collections efforts cease while the claim with United was active.

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24. Despite the April 5, 2010 telephone conversation with Signet, Defendant called

Ms. Sobczak on the following dates:

i.

ii.

iii.

iv.

vi.

vii.

April 5, 2010 at 8219 p.m. (1eh a voicemail to call the number leh in the
message);

April 7, 2010 at 4:42 p.m. (lett a voice mail to call the number lett in the
message);

April 9, 2010 at 12:07 p.m. (left a voice mail to ca11 the number left in the
message;

April 12, 2010 at 7:09 p.m. (left a voicemail to call the number left in the
message);

April 14, 2010at 10:55 a.m. (leh a voice mail to call the number left in the
message);

April 16, 2010 at 6:03 p.m. (leh a voicemail to call the number left in the
message); and

April 20, 2010at 10:23 a.m. (left a voicemail to call the number len in the

message).

25. On or about April 20, 2010 at 11:04 a.m., Ms. Sobczak called United, A United

representative reassured Ms. Sobczak that she did not owe the Alleged Debt, Signet should not

be billing Plaintiff, and Defendant should not be attempting to collect the Alleged Debt.

26, On or about April 20, 2010, Plaintiff called Signet but received a voice recording.

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27. On or about May 20, 2010, Ms. Sobczak called Signet but again received a voice
recording; she left a message asking for a return phone call, expressing her frustration, and
informing the company that she had called the FTC.

28. On or about May 20, 2010 at 12:18 p.m., Defendant called Ms. Sobczak and left a
voicemail requesting she return its call. That same day, at 2225 p.m., Ms. Sobczak returned
Defendant’s phone ca11 and inquired about the status of her case. Defendant reminded Plaintiff
that it was attempting to collect a debt. During this call, Defendant acknowledged that it had
received the fax from Plaintiff transmitting the Balance Billing letters and it had sent a
communication regarding the Alleged Debt to Signet.

29, Subsequent to Ms. Sobczak’s May 20, 2010 conversation with Defendant,
Defendant’s collection efforts seemingly stopped; during a five month period Plaintiff received
no bills and no telephone calls. She felt hopeful, but remained anxious and nervous that
Defendant would resume its collection efforts.

30. Then, Defendant sent Plaintiff a collection letter dated October 11, 2010 and
postmarked October 20, 2010. A true and correct copy of the October ll, 2010 letter is attached
hereto as Exhibit B and it is incorporated by reference herein.

31. Subsequently, on or about October 22, 2010, at 3:21 p.m., Defendant left a
voicemail message on Ms. Sobczak’s cellular phone. After listening to this voicemail, Ms.
Sobczak felt ill; she did not understand why these calls had started again and she did not know
how she could stop Defendant’s collection efforts.

32. Aiter this October 22, 2010, voicemail, Defendant’s incessant and inappropriate
collection efforts returned. Plaintiff received telephone calls and voicemails from Defendant on:

a. October 26, 2010 at 8:56 p.m.;

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b. October 28, 2010 at 4: 10 p.m.;

c. October 30, 2010, at 12:06 p.m.;

d. November 2, 2010, at 8:32 p.m.;

e. November 6, 2010, at 5:49 p.m.;

f. November 9, 2010, at 7:10 p.m.; and
g. November ll, 2010, at 8:43 p.m.

33. On or about November 12, 2010, at 12:18 p.m., Ms. Sobczak called Defendant to
ascertain why Defendant had resumed its collection efforts. During this telephone conversation,
Defendant, after asking for Ms. Sobczak’s phone number and last four digits of her social, stated
that the telephone calls were in reference to collect a debt placed by Signet in the amount of
$323.00. Defendant then asked if Ms. Sobczak would like to provide a credit card number to pay
the Alleged Debt. Plaintiff told Defendant she would not pay the Alleged Debt because she did
not owe it, that she had previously provided ample documentation showing that she does not owe
the Alleged Debt, and asked Defendant to cease collection efforts.

34. Defendant, by engaging in the conduct set forth in great detail above, caused
Plaintiff to become nervous, upset, and anxious. Defendant’s continual efforts to collect the
Alleged Debt, a debt which Plaintiff has proven to Defendant she does not owe, devastated
Plaintiff and damaged her relationships with family and friends. Plaintiff has lost sleep worrying
about Defendant’s collection efforts and has spent an inordinate amount of time and effort trying
to stop Defendant’s illegal collection efforts.

Count l - Violation of FDCPA
35. This is an action for actual and statutory damages brought as a result of

Defendant’s multiple violations of the Fair Debt Collection Practices Act, l5 U.S.C. §1692 et

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seq. (“FDCPA”) which prohibits debt collectors from engaging in abusive, deceptive, and unfair

practices.

36.

Plaintiff repeats, re-alleges and incorporates by reference the allegations

contained in paragraph 1 through 34 above.

37.

Defendant violated the FDCPA by:
harassing and/or abusing Ms. Sobczak by placing a telephone call to her without

disclosing its identity in violation of 15 U.S.C. l692d(6);

. willingly and knowingly making false representations to Plaintiff the character,

amount, or legal status of a debt in violation of 15 U.S.C. § l692e(2)(A);

on information and belief, communicating information to any person, including a
collection agency, information which Defendant knew or should have known to
be false, including failing to communicate that a disputed debt is disputed, in

violation of 15 U.S.C. § 1692e(8);

. failing to disclose a communication is from a debt collector trying to collect a

debt and that any information obtained will be used for that purpose in violation
of15 U.S.C. § 1692e(l l):

knowingly and intentionally using unfair or unconscionable means to collect or
attempt to collect any debt, including attempting collection of any amount where
such amount is not expressly authorized by the agreement creating the debt in
violation of § l692f(1):

failing to cease collection of the Alleged Debt aher Plaintiff notified Defendant in
writing and within the thirty-day period for such notifications, that she disputed

the debt, in violation of § 1692g(b).

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38. Because of Defendant’s FDCPA violations, as alleged herein, Plaintiff suffered a
substantial disruption in her daily routine thus warranting an award of emotion and/or metal
anguish damages.

39. Moreover, Defendant’s FDCPA violations caused Plaintiff to suffer, and Plaintiff
will continue to suffer, injury to Plaintiff`s feelings, personal humiliation, embarrassment, mental
anguish and emotional distress, specifically, Plaintiff has become nervous, upset and anxious and
her relationships with her family and friends have been damaged.

40. Further, Defendant’s failure to appropriately respond to Plaintiff's facsimile
transmitting United’s Balance Billing letter to Defendant, despite admitting to Plaintiff that it
received the facsimile, and Defendant’s subsequent continuation of its harassment and attempts
to collect on the Alleged Debt, show that Defendant did not take any reasonable measure,
precaution, or procedure.

41. Defendant is liable to Plaintiff for Plaintiff`s actual damages, statutory damages,
and costs and attomey’s fees.

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the
Defendant:

(a) Enjoining Defendant from any further illegal collection practices against
Plaintiff;

(b) Awarding Plaintiff her actual compensatory damages:

(c) Awarding Plaintiff her emotional and/or mental anguish damages:

(d) Awarding statutory damages pursuant to 15 U.S.C. § 1692k;

(e) Awarding costs, disbursements and reasonable attomey’s fees pursuant to 15

U.S.C. § l692k; and

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(i) Awarding such other and further relief as may be just and proper.
Count ll - Violation of Florida Consumcr Collection Practices Act

42. Plaintiff repeats, re-alleges and incorporates by reference the allegations
contained in paragraph 1 through 34 above.

43. This is an action for injunctive relief and for actual and statutory damages, as
authorized by Section 559.77 of the Florida Statutes.

44. Despite the fact that Defendant knew that it had no legitimate claim to collect on
the Alleged Debt, Defendant, from about March 25, 2010, to the present date, has repeatedly
made unlawful demand on Plaintiff for payment on the Alleged Debt and threatened to enforce
its claim for payment in violation of Section 559.72(9) of the Florida Statutes.

45. Defendant has also harassed Plaintiff at Plaintiff‘s home by willfully
communicating with Plaintiff frequently and regularly, in violation of Section 559.72(7) of the
Florida Statutes

46. On information and belief, Plaintiff alleges that Defendant has made numerous
false and misleading statements to a credit bureau, orally and in writing, indicating and implying
that Plaintiff would not pay Plaintiffs just debts, without any disclosure to the recipients of the
statements that the debt was and is disputed by Plaintiff, in violation of Section 559.72(5) and (6)
of the Florida Statutes.

47. The acts of Defendant mentioned above were done and performed willfully,
wantonly, and maliciously without regard to their effect on Plaintiff.

48. As a direct and proximate result of the conduct and acts of Defendant mentioned

above, Plaintiffs excellent credit rating has been impaired, and Plaintiff has suffered severe pain

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and distress of body and mind, and great mental anguish, embarrassment, humiliation, and
shame, all to Plaintiffs damage.

49. Plaintiff has been required to employ the undersigned counsel to represent
Plaintiff against the willful, wanton, malicious, and wrongful acts of Defendant mentioned
above, and has agreed to pay counsel a reasonable attorney fee.

50. Plaintiff has incurred, and will continue to incur, additional expenses in the
prosecution of this law suit, including court costs, telephone calls, travel expenses, and other
expenses, all to Plaintiffs further damage.

51. Further, Defendant’s failure to appropriately respond to Plaintift`s facsimile
transmitting United’s Balance Billing letter to Defendant, despite admitting to Plaintiff that it
received the facsimile, and Defendant’s subsequent continuation of its harassment and attempts
to collect on the Alleged Debt, show that Defendant did not take any reasonable measure,

precaution, or procedure.

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WHEREFORE, Plaintiff respectfully requests that judgment be entered against the

Defendant:

(a) Enjoining Defendant from any further illegal collection practices against

Plaintiff;

(b) Awarding Plaintiff the greater of her actual damages or statutory damages of

$1,000;

(c) Awarding Plaintiff punitive damages as Defendant’s conduct was willful;

(d) Awarding Plaintiff her costs of suit and reasonable attomey’s fees; and

(e) Awarding Plaintiff such other and further relief as may be just and proper.

M_X_DE_M

Plaintiff demands a trial by jury on all issues so triable in this action.

Dated: November 24, 2010

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Respectfully Submitted,

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koelsst §

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